                                                                                                             Case 5:19-cv-02499-PSG-KK Document 52 Filed 05/04/20 Page 1 of 7 Page ID #:750



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                                                                                                              Attorney for Plaintiff and Counter Defendant JAMES D.
                                                                                                        11    MCCOOL
                                                                                                        12                             UNITED STATES DISTRICT COURT
TUCKER ELLIS LLP




                                                                                                        13                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        14
                                                                                                              JAMES D. MCCOOL,                        Case No. 5:19-cv-02499-PSG-KK
                                                                                                        15                                            Assigned to Hon. Philip S. Gutierrez
                                                                                                                         Plaintiff,
                                                                                                        16                                            PLAINTIFF AND COUNTER
                                                                                                                   v.                                 DEFENDANT JAMES D. MCCOOL’S
                                                                                                        17                                            UNOPPOSED APPLICATION FOR
                                                                                                           DENISE WILSON; ALLEN                       LEAVE TO FILE UNDER SEAL
                                                                                                        18 MATKINS LECK GAMBLE
                                                                                                           MALLORY & NATSIS, LLP; CLARK               Local Civil Rule 79-5.2.2
                                                                                                        19 LIBENSON; THE PRACTICE
                                                                                                           CERTIFIED PUBLIC                           [Filed concurrently with Declaration of
                                                                                                        20 ACCOUNTANTS, INC.; ADAM                    Edward W. Racek and Proposed Order]
                                                                                                           OCHOA; and DOES 1 through 10,
                                                                                                        21 inclusive,                                 Date: TBD by Court
                                                                                                                                                      Time: TBD by Court
                                                                                                        22             Defendants.                    Place: Courtroom 6A
                                                                                                              DENISE WILSON,
                                                                                                        23                                            Complaint Filed:    December 30, 2019
                                                                                                                         Counter Plaintiff,           Counterclaim Filed: March 17, 2020
                                                                                                        24                                            Trial Date:         None Set
                                                                                                                   v.
                                                                                                        25
                                                                                                              JAMES D. MCCOOL, DESERT JET
                                                                                                        26    HOLDINGS, LLC,
                                                                                                        27               Counter Defendants.
                                                                                                        28
                                                                                                                                                       1
                                                                                                                     PLAINTIFF AND COUNTER DEFENDANT JAMES D. MCCOOL’S UNOPPOSED APPLICATION
                                                                                                                                           FOR LEAVE TO FILE UNDER SEAL
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                                                                                                         1    TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS
                                                                                                         2    OF RECORD:
                                                                                                         3          Pursuant to Local Civil Rule 79-5.2.2, Plaintiff and Counter Defendant James D.
                                                                                                         4    McCool (“McCool”), hereby respectfully submits the following Unopposed Application
                                                                                                         5    for Leave to File Under Seal:
                                                                                                         6          1.     Redacted Portions of paragraphs 5 and 10 of the Declaration of Jared Fox
                                                                                                         7    (“Fox Decl.”) submitted in support of McCool’s accompanying Response to Order to
                                                                                                         8    Show Cause Why a Temporary Receiver Should Not Be Appointed.
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                                                                                                         9                 a.     Paragraph 5 contains redacted amounts of loan funds the company has
                                                                                                        10    received or for which it has been approved. Paragraph 10, includes information
                                                                                                        11    regarding specific financial metrics for the company and the only items of information
                                                                                                        12    redacted from this paragraph are the number of average use hours per aircraft for a period
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                                                                                                        13    when Denise Wilson was CEO versus the average hours of use per aircraft while Jared
                                                                                                        14    Fox has been CEO, and the amount of profit margin during that timeframe.
                                                                                                        15                 b.     Exhibit 1 to the Fox Decl., is a correspondence from Desert Jet
                                                                                                        16    Holdings, LLC’s bank including information regarding approval of loans funds in a
                                                                                                        17    specific amount.
                                                                                                        18          2.     Redacted portions of paragraphs 3, 6 and 11 of the Declaration of James D.
                                                                                                        19    McCool (“McCool Decl.”) submitted in support of McCool’s accompanying Response to
                                                                                                        20    Order to Show Cause Why A Temporary Receiver Should Not Be Appointed, and the
                                                                                                        21    entirety of exhibits 3, 6, 10, 11, 12, 13, and 14 attached thereto.
                                                                                                        22                 a.     Paragraphs 3, 6 and 11 contain confidential financial information of
                                                                                                        23    the company. Only the specific amount of loans received, revenue and net losses, have
                                                                                                        24    been redacted.
                                                                                                        25                 b.     Exhibit 3 to the McCool Decl., is a correspondence between James
                                                                                                        26    McCool to Denise Wilson dated July 25, 2018 outlining the financial and other terms of
                                                                                                        27    McCool’s investment in Desert Jet Holdings, LLC.
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                                                                                                                      PLAINTIFF AND COUNTER DEFENDANT JAMES D. MCCOOL’S UNOPPOSED APPLICATION
                                                                                                                                            FOR LEAVE TO FILE UNDER SEAL
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                                                                                                         1                 c.     Exhibit 6 to the McCool Decl., is a report of Desert Jet’s Consolidated
                                                                                                         2    Revenue for 2018.
                                                                                                         3                 d.     Exhibit 10 to the McCool Decl., is a set of combined financial
                                                                                                         4    statements for Desert Jet for the year ending December 31, 2018.
                                                                                                         5                 e.     Exhibit 11 to the McCool Decl., is an email chain dated March 19,
                                                                                                         6    2019 between Denise Wilson, Toby Benenson and vendor regarding Denise Wilson’s
                                                                                                         7    resignation from Desert Jet.
                                                                                                         8                 f.     Exhibit 12 to the McCool Decl., is an email chain dated March 20,
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                                                                                                         9    2019 between James McCool, Denise Wilson, and Toby Benenson regarding Denise
                                                                                                        10    Wilson’s resignation from Desert Jet.
                                                                                                        11                 g.     Exhibit 13 to the McCool Decl., is an email chain dated April 4, 2019
                                                                                                        12    between James McCool, Denise Wilson and Toby Benenson regarding Desert Jet
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                                                                                                        13    financial issues.
                                                                                                        14                 h.     Exhibit 14 to the McCool Decl., is a packet of July 26, 2019 Financial
                                                                                                        15    Documents of Desert Het, including documents entitled Action By Written Consent of
                                                                                                        16    the Management Board, Action By Written Consent of the Management Board, Action
                                                                                                        17    By Written Consent of the Sole Member, Promissory Note and Security Agreement.
                                                                                                        18    These documents were filed under seal as Exhibit D to the Wilson Declaration in support
                                                                                                        19    of her ex parte application to appoint a receiver.
                                                                                                        20          3.     Exhibit 1 to the Declaration of Toby Benenson (Benenson Decl.), is a copy
                                                                                                        21    of the email chain dated March 19, 2019 between Denise Wilson, Toby Benenson and a
                                                                                                        22    vendor regarding Denise Wilson’s resignation from Desert Jet. It is also attached to the
                                                                                                        23    McCool Decl. as Exhibit 11.
                                                                                                        24          The Above Records Should Be Filed Under Seal.
                                                                                                        25          Section 10.2 of the August 14, 2018 Limited Liability Company Agreement of
                                                                                                        26    Desert Jet Holdings, LLC (the “Company Agreement”) defines “Confidential
                                                                                                        27    Information” of the Company, in pertinent part, as:
                                                                                                        28
                                                                                                                                                            3
                                                                                                                      PLAINTIFF AND COUNTER DEFENDANT JAMES D. MCCOOL’S UNOPPOSED APPLICATION
                                                                                                                                            FOR LEAVE TO FILE UNDER SEAL
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                                                                                                         1          Trade secrets, proprietary information and confidential information
                                                                                                                    belonging to the Company and its Affiliates that are not generally known
                                                                                                         2          to the public, including, but not limited to, information
                                                                                                                    concerning business plans, financial statements and other information
                                                                                                         3          provided pursuant to this Agreement, operating practices and
                                                                                                                    methods, expansion plans, strategic plans, marketing plans, contracts,
                                                                                                         4          customer lists or other business documents that the Company treats as
                                                                                                                    confidential, in any format whatsoever (including oral, written,
                                                                                                         5          electronic or any other form or medium)[.]
                                                                                                         6          See Ex. 9 to McCool Decl. The Company Agreement also states that the Company
                                                                                                         7    has invested substantial time, expense, and specialized knowledge in developing its
                                                                                                         8    Confidential Information, which provides a competitive advantage to the Company, and
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                                                                                                         9    the disclosure of which would irreparably harm the Company. Id. § 10.2. This Section
                                                                                                        10    further militates that each party “in possession of Confidential Information shall take all
                                                                                                        11    appropriate steps to safeguard such information and to protect it against disclosure,
                                                                                                        12    misuse, espionage, loss and theft.” Id.
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                                                                                                        13          Out of an abundance of caution, and to avoid any potential breach of the Company
                                                                                                        14    Agreement, and to protect the Company’s proprietary, confidential, and trade secret
                                                                                                        15    information, McCool seeks leave to file the above documents and redacted portions of
                                                                                                        16    declarations under seal as they would reveal both financial information of the company as
                                                                                                        17    well as information about business plans, strategic plans and contracts. (Racek Decl. ¶ 18.)
                                                                                                        18    Good cause exists to grant this narrowly tailored request to seal from the public the
                                                                                                        19    specific and detailed information contained therein regarding the Company’s financial
                                                                                                        20    condition, current and proposed financing, and strategies/plans regarding the Company’s
                                                                                                        21    finances and operations. (Id.) Indeed, “while protecting the public’s interest in access to
                                                                                                        22    the courts, [courts] must remain mindful of the parties’ right to access those same courts
                                                                                                        23    upon terms which will not unduly harm their competitive interest.” Nicolosi Distrib., Inc.
                                                                                                        24    v. Finishmaster, Inc., No. 18-CV-03587-BLF, 2018 WL 3932554, at *1–2 (N.D. Cal.
                                                                                                        25    Aug. 16, 2018) (quoting Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1099 (9th
                                                                                                        26    Cir. 2016)) (finding that compelling reasons exist to seal three contracts containing
                                                                                                        27    potential trade secrets and confidential business information). The sealing of these
                                                                                                        28    documents and information is particularly warranted here due to the need to provide
                                                                                                                                                            4
                                                                                                                      PLAINTIFF AND COUNTER DEFENDANT JAMES D. MCCOOL’S UNOPPOSED APPLICATION
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                                                                                                         1    confidential financial information on shortened time due to the nature of Wilson’s motion
                                                                                                         2    to appoint a receiver and to refute Wilson’s statements regarding the finances and
                                                                                                         3    operation of the company.
                                                                                                         4          Counsel for Wilson, the sole party seeking appointment of a receiver, has advised
                                                                                                         5    that they do not oppose the instant request, and would stipulate to filing the referenced
                                                                                                         6    financial and business information under seal. (Racek Decl. ¶ 3, Ex. 1.)
                                                                                                         7          WHEREFORE, based on the foregoing, McCool respectfully requests that the Court
                                                                                                         8    grant Leave to File Under Seal as sought herein, and for all such further relief as the Court
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                                                                                                         9    deems just and proper.
                                                                                                        10

                                                                                                        11    DATED: May 4, 2020                           Tucker Ellis LLP
                                                                                                        12
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                                                                                                        13
                                                                                                                                                           By: /s/ Edward W. Racek
                                                                                                        14                                                     Edward W. Racek
                                                                                                        15                                                      Attorney for Plaintiff and Counter
                                                                                                                                                                Defendant JAMES D. MCCOOL
                                                                                                        16

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                                                                                                                      PLAINTIFF AND COUNTER DEFENDANT JAMES D. MCCOOL’S UNOPPOSED APPLICATION
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                                                                                                         1                                 CERTIFICATE OF SERVICE
                                                                                                         2          This Certificate of Service is made in compliance with Local Rule 5.1.2 and Civ.R.
                                                                                                         3    5(b). I am employed in the County of Los Angeles, State of California. I am over the
                                                                                                         4    age of 18 and not a party to the within action. My business address is 515 S. Flower
                                                                                                         5 Street, 42nd Floor, Los Angeles, CA 90071.
                                                                                                                        On the date indicated below, a true and correct copy of the foregoing
                                                                                                         6 PLAINTIFF AND COUNTER DEFENDANT JAMES D. MCCOOL’S
                                                                                                           UNOPPOSED APPLICATION FOR LEAVE TO FILE UNDER SEAL
                                                                                                         7
                                                                                                                     was filed with Court and served electronically and will be available for viewing
                                                                                                         8
                                                                                                              and downloading from the Court’s CM/ECF system:
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                                                                                                         9
                                                                                                                    The Notice of Electronic Case Filing automatically generated by the system and
                                                                                                        10
                                                                                                              sent to all parties entitled to service under the Federal Rules of Civil Procedure and the
                                                                                                        11
                                                                                                              Local Rules of the Central District of California who have consented to electronic service
                                                                                                        12
                                                                                                              shall constitute service of the filed document to all such parties.
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                                                                                                        13
                                                                                                                    By sending facsimile, a true and correct copy thereof addressed as follows to
                                                                                                        14
                                                                                                              the following:
                                                                                                        15     Nich S. Pujji                                    Counsel for Defendant and Counter
                                                                                                        16     Jacqueline M. Whipple                            Plaintiff Denise Wilson
                                                                                                               Isabella C. Hsu
                                                                                                        17
                                                                                                               DENTONS US LLP
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                                                                                                        19
                                                                                                               Telephone: (213) 623-9300
                                                                                                        20     Facsimile: (213) 623-9924
                                                                                                        21

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                                                                                                        23
                                                                                                               Kevin H. Brogan                                  Counsel for Defendants Allen Matkins
                                                                                                        24     HILL FARRER AND BURRILL LLP                      Leck Gamble Mallory and Natsis, LLP
                                                                                                               One California Plaza                             and Clark Libenson
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                                                                                                               Facsimile: 213-624-4840
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                                                                                                                      PLAINTIFF AND COUNTER DEFENDANT JAMES D. MCCOOL’S UNOPPOSED APPLICATION
                                                                                                                                            FOR LEAVE TO FILE UNDER SEAL
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                                                                                                         1     Randall Dean                                    Counsel for Defendants The Practice
                                                                                                         2     Eliana Spero                                    Certified Public Accountants, Inc. and
                                                                                                               CHAPMAN GLUCKSMAN DEAN                          Adam Ochoa
                                                                                                         3     AND ROEB
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                                                                                                               Facsimile: 310-207-6550
                                                                                                         7

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                                                                                                         9

                                                                                                        10          Executed on, May 4, 2020, at Los Angeles, CA.
                                                                                                        11          I declare under penalty of perjury that I am employed in the office of a member
                                                                                                        12    admitted to practice before the District Court for the Central District of California and
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                                                                                                        13    ECF registered in this Court at whose direction the service was made and that the
                                                                                                        14    foregoing is true and correct.
                                                                                                        15

                                                                                                        16

                                                                                                        17                                                      By: /s/ Annika Garcia
                                                                                                        18                                                          Annika Garcia

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                                                                                                                      PLAINTIFF AND COUNTER DEFENDANT JAMES D. MCCOOL’S UNOPPOSED APPLICATION
                                                                                                                                            FOR LEAVE TO FILE UNDER SEAL
